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FILED IN THE
UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII
SEP 23 2018
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,

)
Plaintiff,
)
VS. )
)
MICHAEL WALKER, )
)
Defendant. )
)
)

 

) CR. NO. 19-00136 SOM

) NOTICE OF RELATED CASE

NOTICE OF RELATED CASE

 
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Pursuant to Hawaii Local Rule 40.2 and Crim. Local Rule 12.3, the
United States Attorney gives notice herein that the above-captioned Information
involves substantially the same party and/or subject matter as the following
proceeding:
United States v. Michael Walker, Cr. No. 15-00293-02 SOM-RT.
DATED: September 23, 2019, at Honolulu, Hawaii.
Respectfully submitted,
KENJI M. PRICE

United States Attorney
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MARSHALFH. SILVERBBR
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